
371 So.2d 139 (1979)
G &amp; B OF JACKSONVILLE, INC., d/b/a Out of Sight, Appellant,
v.
STATE of Florida, DEPARTMENT OF BUSINESS REGULATION, DIVISION OF BEVERAGE, Appellee.
No. GG-305.
District Court of Appeal of Florida, First District.
February 21, 1979.
Rehearing Denied April 11, 1979.
Harry Katz, Jr., of Katz &amp; Katz, Jacksonville, for appellant.
*140 Dennis E. LaRosa and David M. Maloney, Tallahassee, for appellee.
MILLS, Acting Chief Judge.
G &amp; B seeks review of an order of the Division of Beverage finding that six of G &amp; B's agents, servants or employees violated Section 798.02, Florida Statutes (1977), thereby violating Section 561.29, Florida Statutes (1977), and suspending G &amp; B's liquor license for thirty days. We affirm.
Section 798.02 provides that a person who engages in open and gross lewdness and lascivious behavior shall be guilty of a misdemeanor of the second degree.
Section 561.29 gives the Division authority to suspend a beverage license when the Division finds upon sufficient cause that a licensee or its agents, officers, servants or employees, on the licensed premises, while in the scope of employment, has violated any law of this State.
We do not deem it necessary to recite the charges and findings of the Division. Suffice it to say that the charges were sufficient under Section 798.02 and the findings were supported by competent substantial evidence.
In this particular case, six agents, servants or employees engaged in similar but separate open and gross lewd acts with different patrons on the licensed premises on two different days. The persistent and practiced manner in which the violations were executed lead to the conclusion that G &amp; B either condoned or negligently overlooked the illegal activities. A licensee may not remove itself from responsibility by not being present on the premises or by claiming ignorance of the repeated violations. Pauline v. Lee, 147 So.2d 359 (Fla. 2d DCA 1962).
The other issues presented by G &amp; B have been considered but are without merit.
The order appealed is affirmed.
SMITH, J., and MITCHELL, HENRY CLAY, Associate Judge, concur.
